1_Case 2:03-CV-02569-BBD-tmp Document 340 Filed 05/12/05 Page 1 of 4 Page|D 322

 

 

Fff.s
UNITED sTATEs DISTRICT COURT 5 f .\ _ v
FoR THE WESTERN DIsTRICT oF TENNESSEE@§ ,_,M ,, ~»'.0_
WESTERN DIVIsIoN 'F / .? 4;_; H_
FOP@~~ . w 23
/‘/!’U it -'
BARBARA WILLINGHAM, a '
`k
Plainriff, t
k
V. ""
t No. 03-2569-D/P
1b
v\‘
woRLDWIDE MoRTGAGE CoRP., ET AL., *
k
Defendants. *
‘k

 

ORDER

 

IT IS ORDERED that Plaintiff, Barbara Willingham, be granted an extension of
time until May 5 , 2005 to respond to Novastar’S Requests for Admissions and that

P]aintiff be allowed to withdraw any and all admissions deemed admitted, and

'i'tns ;Jocwne:tt entered on me ooc:<et S`neet m ocmp‘>&ance

am ath ss and,mr"/'Q{a) FaoP on 5` \S”Q§ g f § :

Case 2:03-CV-O2569-BBD-tmp Document 340 Filed 05/12/05 Page 2 of 4 Page|D 323

that such admissions shall have no further effect in this action.

fh:¥>@\

TU M. PHAM
UNITED STATES MAGISRATE JUDGE

Dated: May l , 2005

 

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 340 in
case 2:03-CV-02569 Was distributed by faX, mail, or direct printing on
May 18, 2005 to the parties listedl

 

Bruce E. Alexander

WEINER BRODSKY SlDMAN KlDER7 P.C.
1300 19th Street, N.W.

5th floor

Washington, DC 20036--160

Loys A. Jordan
MCDONALD KUHN
119 South l\/lain St.
Ste. 400

l\/lemphis7 TN 38103

W. Timothy Hayes

THE HARDISON LAW FIRM
119 S. Main St.

Ste. 300

l\/lemphis7 TN 38103

Kristen C. Wright

BASS BERRY & SIMS PLC- l\/lemphis
100 Peabody Place

Ste. 900

l\/lemphis7 TN 38103

John S. GolWen

BASS BERRY & SIMS PLC- l\/lemphis
100 Peabody Place

Ste. 900

l\/lemphis7 TN 38103

Christopher S. Campbell

HARRIS SHELTON DUNLAP COBB & RYDER
One Commerce Square

Ste. 2700

l\/lemphis7 TN 38103

Case 2:03-cV-O2569-BBD-tmp Document 340 Filed 05/12/05 Page 4 of 4 Page|D 325

Roscoe Porter Feild

BURCH PORTER & JOHNSON
130 N. Court Avenue

l\/lemphis7 TN 38103

Webb A. Brewer

l\/[El\/IPHIS AREA LEGAL SERVICES, INC.
109 N. l\/lain Street

Ste. 201

l\/lemphis7 TN 38103

John L. Ryder

HARRIS SHELTON DUNLAP COBB & RYDER
One Commerce Square

Ste. 2700

l\/lemphis7 TN 38103

Sapna V. Raj

l\/[El\/IPHIS AREA LEGAL SERVICES, INC.
109 N. l\/lain Street

Ste. 201

l\/lemphis7 TN 38103

Jennifer Shorb Hagerman
BURCH PORTER & JOHNSON
130 N. Court Avenue

l\/lemphis7 TN 38103

Virginia l\/l. Patterson

THE HARDISON LAW FIRM
119 S. Main St.

Ste. 300

l\/lemphis7 TN 38103

Evan Nahmias
MCDONALD KUHN
119 South l\/lain St.
Ste. 400

l\/lemphis7 TN 38103

Mitchel H. Kider

WEINER BRODSKY SlDMAN KlDER7 P.C.
1300 19th Street, N.W.

5th floor

Washington, DC 20036--160

Honorable Bernice Donald
US DISTRICT COURT

